      Case 1:18-cv-00106-MSM-LDA Document 73 Filed 12/20/19 Page 1 of 1 PageID #: 1174
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of RhodeofIsland
                                                                     __________


                          JOHN DOE                             )
                             Plaintiff                         )
                                v.                             )      Case No.     C.A. No. 18-CV-00106-MSM-LDA
           JOHNSON & WALES UNIVERSITY                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          JOHNSON & WALES UNIVERSITY                                                                                   .


Date:          12/20/2019                                                                 /s/ Jeremy Licht
                                                                                         Attorney’s signature


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